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16
                          UNITED STATES DISTRICT COURT
17
                        CENTRAL DISTRICT OF CALIFORNIA
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      JORGE CHACON, as an individual                Case No.: 8:19-cv-00564 JLS(DFMx)
20    and on behalf of others similarly
      situated,                                     ASSIGNED TO DISTRICT JUDGE
21                                                  JOSEPHINE L. STATON
                     Plaintiff,
22                                                  REQUEST FOR JUDICIAL NOTICE
            v.                                      IN SUPPORT OF MOTION FOR
23                                                  CLASS CERTIFICATION
      EXPRESS FASHION
24    OPERATIONS, LLC, a Delaware                   Date: June 4, 2021
      limited liability company, and DOES           Time: 10:30 a.m.
25    1-50, inclusive,
                                                    Place: Courtroom 10A
26    Defendants.
27
28


                                  NOTICE OF MOTION FOR CLASS CERTIFICATION
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 1         TO THIS COURT, ALL PARTIES AND TO THEIR ATTORNEYS OF
 2   RECORD:
 3                        REQUEST FOR JUDICIAL NOTICE
 4         Pursuant to Federal Rule of Evidence 201 and common law, Plaintiff Rogelio
 5   Castro respectfully requests that this Court take judicial notice of the following
 6   records and documents with respect to Plaintiff’s Motion for Class Certification:
 7         1.    California Division of Labor Standards Enforcement (DLSE) Opinion
 8               Letter re “Meal Periods Under IWC Order No. 14-2001”, dated August
 9               13, 2003, a copy of which is attached hereto as Exhibit 1.
10
11   Dated: January 11, 2021               Capstone Law APC
12
                                           By: /s/ Bevin Allen Pike
13
                                               Melissa Grant
14                                             Bevin Allen Pike
15                                             Orlando Villalba
                                               Daniel Jonathan
16
17                                            Jackson Law, APC
                                                Armond Jackson
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19                                             Attorneys for Plaintiff Joseph Chacon

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    EXHIBIT “1”
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